Case: 1:08-cv-05588 Document #: 97 Filed: 02/21/11 Page 1 of 4 Page|D #:708

IN THE UNITED STATES DlSTRlCT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DlVISlON
LEILA R. TAYLOR, )
) No. 08-cv-5588
Plaintiff, )
v. ) Judge Lefkow
)
MICHAEL FEINBERG and )
l\/IARCY FEINBERG )
Defendants. )

DEFENDANT MARCY FEINBERG'S MOTIONS TO DISMISS
COUNTS VIII AND IX OF THE THIRD AMENDED COMPLAINT

Defendant, Marcy Peinberg ("Marcy"), by and through one of his attorneys, James E.
Dahl, respectfully moves this Court to dismiss Counts VIII anle of the "Third Amended
Complaint" filed by plaintiff, Leila R. Taylor ("Leila"), Which are the only counts directed
against l\/larcy.

MOTION TO DISMISS COUNT VIII
(A PURPORTED CLAIM FOR AIDING AND ABETTING)
FOR FAILURE TO STATE A CLAIM WITH PARTICULARITY

Marcy moves this Court to dismiss Count VIII, Which purports to allege a claim for
aiding and abetting, pursuant to Fed.R.Civ.P. 9 and Fed.R.Civ.P. lZ(b)(G), because the
allegations of that count do not set forth a claim for Which relief can be granted With the requisite
particularity

l. At Count VIII, Leila attempts to allege a claim against Marcy for aiding and
abetting her husband, Michaei Feinberg ("Michael“), in connection With his allegedly fraudulent
conduct.

2. Leila, once again, chooses to ignore the pleading requirements of particularity

imposed by Fed.R.Civ.P. 9 When bringing accusations of fraud against a defendant

Case: 1:08-cv-05588 Document #: 97 Filed: 02/21/11 Page 2 of 4 Page|D #:709

3. This Court has already admonished Leila that Rule 9 requirement to state With
particularity the circumstances constituting the fraud apply to claims that necessarily "sound in
fraud." The Court, in its Order of September 28, 2009, stated that:

Thus, '[a] claim that sounds in fraud' - in other Words, one that is premised upon a

course of fraudulent conduct - can implicate Rule 9(b)'s heightened pleading

re uirements. (Ia"., Borsellino v. Goldman Sachs Group. lnc., 477 F.3rd 502, 507

(l't Cir.) 2007. Leila's argument that Rule 9(b) arguably only applies to Count lll

(fraudulent concealment) is unavailing (Order, 9/28/09, at 9.)

4. Without question, the particularity requirements of Rule 9(b) apply to Leila's
claim that Marcy aided and abetted her husband in connection With the alleged and so-called
"Michael Misappropriations." Notwithstanding the clear application of Rule 9, the only
allegations Which Leila makes in support of her claim of aiding and abetting is as follows:

Marcy assisted l\/lichael in carrying out his misconduct alleged herein.

l\/[arcy Was regularly aware of Michael‘s misconduct and her role in aiding
and abetting Michael.

Marcy knowingly and substantially assisted Michael in his misconduct
(Third Amended Complaint, Count Vlll, 1[1[ 67-69.)

lnterestingly, Leila does not even allege that Marcy aided and abetted her husband, but only that
she Was supposedly "aware of her role in aiding and abetting Michael." Such conclusory
allegations do not come remotely close to meeting the Rule 9 standard for pleading fraud With
particularity

WHEREFORE, Marcy respectfully requests this Court to dismiss Count Vlll; Marcy
further requests that given that this is the fourth effort to implicate her in a scheme to defraud,

that the dismissal should be With prej udice.

Case: 1:08-cv-05588 Document #: 97 Filed: 02/21/11 Page 3 of 4 Page|D #:710

MOTION TO DISMISS IX
(A PURPORTED CLAIM FOR UNJUST ENRICHMENT)
FOR FAILURE TO STATE A CLAIM

Marcy respectfully moves this Court, pursuant to Fed.R.Civ.P. lZ(b)(é), to dismiss Count
IX, Which purports to allege a claim for unjust enrichment

l. In order to be "unjustly enriched," someone must be found to have done
something that Was "unjust.“

2. Leila has failed to allege any act engaged in by Marcy Which Was "unjust" and
Which served to enrich Marcy at Leila's expense

3. l\/larcy incorporates the statements set forth in her l\/lotion to Dismiss Count VIll
above

WHEREFORE, Marcy respectfully requests this Court to dismiss lX; Marcy further
requests that, given the fact that this is the fourth time that an attempt has been made to implicate
her in a scheme to fraud, that this dismissal be made With prejudice
JAMES E. DAl-IL

DAHL & BONADIES, LLC By: /s/ l ames E. Dahl

30 North LaSalle St. #1500 One of the Attorneys for Marcy Feinberg
Chicago, IL 60602
312/641-3245

Case: 1:08-cv-05588 Document #: 97 Filed: 02/21/11 Page 4 of 4 Page|D #:711

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DlVlSlON

LEILA R. TAYLOR, )
)

Plaintiff, ) No. 08 cv 055 88
v. )
)
MlCl-IAEL FEINBERG, et al., )
Defendants. )

CERTIFICATE OF SERVICE

 

The undersigned attorney for l\/Iarcy Feinberg hereby certifies that "Defendant Marcy
Feinberg's Motions To Dismiss Counts VIII and IX Of The Third Amended Complaint"
Was served on February 21, 2011, in accordance With Fed.R.Civ.P. 5, LR 5.5 and the General
Order on Electronic Case Filing pursuant to the District Court's Electronic Case Filing (ECF)

System as to ECF filers.

By: /s/ lames E. Dahl
One of the Attorneys for Marcy Feinberg

JAMES E. DAHL

DAHL & BONADIES, LLC
30 North LaSalle Street
Suite 1500

Chicago, lL 60602
312/641-3245

